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IN THE UNITED sTATEs DISTRICT COURT FoR THE 95 JUN l 3 AH 1 l= 23
WESTERN DISTRICT oF TENNESSEE

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JUDY GLICK, )
Plaintiff, Case No. 2:05cv2286

V.

PATRICIA G. MOORE and
CARLA M. KETCHUM,

`\-J\-I\-¢’\./\.J\./\.J\-/

Defendants.

 

ORDER DENYING DEFAULT JUDGMENT

 

Plaintiff, Judy Glick, by and through Courlsel, Stephen R. Leffler submitted motion for
default judginth against Defendant Carla M. Ketchum. As grounds, Plaintiff states that Defendant(s)
has failed to answer / plead to complaint.

Entry of Default may be entered When party Whom a judgment is sought has failed to plead
or otherwise provided and fact is made to appear by affidavit or otherwise FRCVP 55 (a).

Default Judgment is therefore DENIED as there has been no Entry of Default as to the
Det`endant(s).

Entered this 13th day of June, 2005.

ROBERT R. DI TROLIO
Clerk of Court

By: UW:/L¢A,&/

Deplity Clerk

This document entered on the docket sheet' m eomp§ iance /fv
With Hute 58 and/or 79(3} FHCP on §§ 515 §§ § n j

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02286 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Stephen R. Lefiler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

